                Case 2:23-cv-01391-RSL Document 147 Filed 03/01/24 Page 1 of 2



 1                                                                              The Honorable Robert S. Lasnik
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                                 UNITED STATES DISTRICT COURT
 8                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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     MCKENNA DUFFY and MICHAEL BRETT,                           Case No. 2:23-cv-01391-RSL
10   individually and on behalf of all others
     similarly situated,                                        ORDER EXTENDING TIME FOR
11                                                              SUBMISSION OF PROPOSED
                           Plaintiffs,                          AGREEMENT REGARDING THE
12                                                              DISCOVERY OF ELECTRONICALLY
              v.                                                STORED INFORMATION AND
13                                                              PROPOSED PROTECTIVE ORDER
     YARDI SYSTEMS, INC., et al.,
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                           Defendants.
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              Pursuant to Local Civil Rules 7(d)(1) and 10(g), Plaintiffs McKenna Duffy and Michael
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     Brett (“Plaintiffs”) and Defendants Yardi Systems, Inc. (“Yardi”), Bridge Property Management,
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     L.C. (“Bridge”), Calibrate Property Management LLC (“Calibrate”), Creekwood Property
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     Corporation (“Creekwood”), Dalton Management, Inc. (“Dalton”), LeFever Mattson Property
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     Management (“LeFever”), HNN Associates, LLC (“HNN”), Manco Abbott, Inc. (“Manco”),
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     Morguard Management Company Inc. (“Morguard”), Summit Management Services, Inc.
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     (“Summit”), and R.D. Merrill Real Estate Holdings, LLC (“Pillar Properties”) (collectively
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     “Defendants”), by and through their respective counsel, hereby stipulate as follows:
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              1.       WHEREAS, the Parties1 submitted a Joint Status Report and Discovery Plan
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     (ECF No. 119) on November 10, 2023, in accordance with this Court’s Order (ECF No. 97) and
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     with Civil Local Rule 26(f);
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28          Defendants and Plaintiffs are collectively referred to as the “Parties.”


     ORDER EXTENDING TIME – 1
              Case 2:23-cv-01391-RSL Document 147 Filed 03/01/24 Page 2 of 2



 1          2.      WHEREAS, the Joint Status Report and Discovery Plan proposed that the Parties
 2   present a Protective Order to the Court no later than February 1, 2024;
 3          3.      WHEREAS, the Joint Status Report and Discovery Plan proposed that the Parties
 4   present an Agreement Regarding the Discovery of Electronically Stored Information (“ESI
 5   Protocol”) to the Court no later than March 1, 2024;
 6          4.      WHEREAS, the Parties have met and conferred regarding both the Protective
 7   Order and the ESI Protocol and would benefit from more time to either reach agreement or
 8   narrow the scope of any disputed issues, and, subject to the Court’s approval, have agreed to
 9   continue those deadlines until April 1, 2024;
10          THEREFORE, it is hereby ORDERED that:
11          The Parties will present a Protective Order and an ESI Protocol, as well as any related
12   disputed issues, by no later than April 1, 2024.
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            Dated this 1st day of March, 2024.
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16                                                   Robert S. Lasnik
                                                     United States District Judge
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     ORDER EXTENDING TIME – 2
